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                                          U.S. Department of Justice
[Type text]
                                                  United States Attorney
                                                  Southern District of New York
                                                  The Silvio J. Mollo Building
                                                  One Saint Andrew’s Plaza
                                                  New York, New York 10007

                                                   August 31, 2022

BY ECF
Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. Cliver Antonio Alcala Cordones, S2 11 Cr. 205 (AKH)

Dear Judge Hellerstein:

       The Government respectfully submits this letter to provide notice of a classified letter
submitted on August 30, 2022 through the Classified Information Security Officer.

                                           Respectfully submitted,

                                           DAMIAN WILLIAMS
                                           United States Attorney


                                    By:                      /s/                      a
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